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                      UNITED STATES DISTRICT COURT
                             DISTRICT OF MAINE
______________________________
                               )
UNITED STATES OF AMERICA )
                               )
v.                             )        Crim. No. 2:19-CR-00123-DBH
                               )
DAMON FAGAN,                   )
            Defendant          )
______________________________)


MR. FAGAN’S MOTION TO ALLOW SUPPLEMENTAL INFORMATION ON MOTION TO
                    REOPEN ORDER OF SUPPRESSION


   NOW COMES Damon Fagan, by and through his attorney, David Bobrow, with this Motion

to Allow Supplemental Information on the Motion to Reopen the Order of Suppression stating as

cause the following:

   (1) This matter is before the Court on the Government’s Single Count Indictment for

      Possession with Intent to Distribute Heroin in violation of 21 U.S.C. §841(a)(1). ECF

      #24.

   (2) Mr. Fagan has filed a Motion to Reopen the Suppression Order dated February 11, 2020.

   (3) Mr. Fagan has filed a Motion for Discovery contemporaneously with that Motion. If the

      Court grants that Motion, it is anticipated that Mr. Fagan will have additional information

      to add to his Motion to Reopen.

   (4) The granting of this request will not result in any delay nor prejudice in this matter as the

      time periods requested for exclusion under the Speedy Trial Act pursuant to 18 U.S.C. s.

      3161(h)(8)(A) exist based on the Motion to Reopen and Mr. Fagan accepts said

      exclusions.
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   (5) The Assistant United States Attorney, Nicholas Scott, Esq. has been contacted but not

       reached for his position on this Motion.



   WHEREFORE Mr. Fagan moves that this Honorable Court grant this to Motion to Allow

Supplemental Information on the Motion to Reopen together with any and all other relief that is

fit and just.



        Dated this 19th day of October 2020 at Portland, Maine.


                                                    Respectfully submitted,

                                                    /s/ David J. Bobrow
                                                    On behalf of Damon Fagan

                                                    BEDARD AND BOBROW, PC
                                                    9 Bradstreet Lane
                                                    P.O. Box 366
                                                    Eliot, ME 03903
                                                    207.439.4502
                                                    djblaw@bedardbobrow.com
Case 2:19-cr-00123-DBH Document 120 Filed 10/19/20 Page 3 of 3                  PageID #: 425




                      UNITED STATES DISTRICT COURT
                             DISTRICT OF MAINE
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v.                             )        Crim. No. 2:19-CR-00123-DBH
                               )
DAMON FAGAN,                   )
            Defendant          )
______________________________)



                               CERTIFICATE OF SERVICE


      I, David J. Bobrow, Esq., hereby certify that I have caused to be served via ECF
Defendant Damon Fagan’s Motion to Allow Supplemental Information to:

       1.     Nicholas Scott, Esq. at <Nicholas.Scott@usdoj.gov>;
       2.     All other persons of record in this matter.


       Dated this 19th day of October 2020 at Portland, Maine.

                                                   Respectfully submitted,

                                                   David J. Bobrow, Esq.
                                                   Attorney for Daman Fagan
                                                   BEDARD AND BOBROW, PC
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                                                   P.O. Box 366
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